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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

UNITED STATES, et al., )
Plaintiffs,
v. ) No. 1:23-cv-00108-LMB-JFA
GOOGLE LLC,
Defendant.
ORDER

Before the Court is Plaintiffs’ Motion for Leave to File Sur-Reply in Further Response to
Defendant’s Motion to Dismiss the United States’ Damages Claim and to Strike the Jury

Demand. For good cause shown, Plaintiffs’ motion is HEREBY GRANTED.

pA
SO ORDERED THIS b DAY OF JUNE, 2024.

/s/
Leonie M. Brinkema
United States District Judge

